              IN THE DISTRICT COURT OF THE UNITED STATES
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          ASHEVILLE DIVISION
                              1:07 CR 15-6


UNITED STATES OF AMERICA,        )
                                 )
Vs.                              )                          ORDER
                                 )
CASEY MARIA RADFORD,             )
                                 )
              Defendant.         )
________________________________ )


      THIS MATTER came before the undersigned pursuant to a Motion to

Modify Terms and Conditions of Pre-Trial Release (#288) filed by counsel for

Defendant.    At the call of this matter on for hearing, it appeared that Defendant was

present with her counsel Anthony Alan Coxie and the Government was present

through AUSA Thomas Ascik. The undersigned advised the parties that a hearing

had been set for January 28, 2016 regarding the Petition alleging that Defendant had

violated terms and conditions of her supervised release.     The undersigned further

advised the parties that this Court would not be in position to grant a motion allowing

Defendant to be released on terms and conditions of pretrial release on January 27,

2016 when the hearing before the District Court was to take place the next day on

January 28, 2016.

      After consulting with Defendant, Mr. Coxie advised the Court that he wished

to withdraw his motion. The Government advised that it had no objection.


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                                 ORDER

     IT IS, THEREFORE, ORDERED that the Motion to Modify Terms and

Conditions of Pre-Trial Release (#288) is considered to be WITHDRAWN and is

DISMISSED.


                                  Signed: January 28, 2016




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